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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           UNITED STATES OF AMERICA )
                                    )                     CRIMINAL ACTION FILE
                v.                  )
                                    )                     NO. 1:10-CR-521-TCB-AJB-02
           OTIS HENRY,              )
                                    )
                        Defendant.  )

                           UNITED STATES MAGISTRATE JUDGE’S
                         NON-FINAL REPORT AND RECOMMENDATION

                 Before the Court is Otis Henry’s motion to suppress evidence obtained by

           wiretap and electronic surveillance, [Doc. 601].         The government responded,

           [Doc. 609], and was directed to file a response on the substance of Defendant’s

           arguments, [Doc. 713]. Defendant did not file a reply.

                 The government argues that Henry’s motion should be denied because it was

           untimely. Pretermitting the merits of that argument, the Court prefers to resolve

           Henry’s motion on the merits, and RECOMMENDS that it be DENIED.

                 Title III alleged deficiencies

                 First, Henry contends that the government failed to comply with the sealing

           requirement of 18 U.S.C. § 2518(8)(a), when (1) it did not seal the Title III intercepted

           recordings on Target Telephones (“TT”) 12, 14 and 15 until November 29/30, 2010,




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           six days after the authorized interceptions ended on November 24, 2010,

           [Doc. 601 at 3]; and (2) it did not seal the Title III intercepted recordings on TT 10, 12,

           14 and 16, which were initiated on December 1, 2010, because the discovery did not

           contain a sealing order. [Id. at 3-4]. He also contends that the government failed to

           supply the District Court with progress reports as required by 18 U.S.C. § 2518(6) and

           the interception orders. [Doc. 601 at 4-5].

                 In its merits response, [Doc. 713], the government first challenges Henry’s

           blanket statements that he has standing to challenge the lawfulness of the

           interceptions. [Id. at 3-8]. It also contends that the November 29, 2010, sealing orders

           were timely because November 25, 2010, was Thanksgiving, and November 27 and 28,

           2010, were weekend days, and in determining the timeliness of Title III’s sealing

           requirements, holidays and weekends are not counted. [Id. at 8-11]. It also contends

           that the Title III authorization which began on December 1, 2010, was terminated on

           December 16, 2010, and sealed that date. [Id. at 12]. It also attached in camera a copy

           of the progress reports for the October 2010 interception, which it contends are not

           required to be disclosed; and states that the December 1, 2010, interception was ended

           before the need for filing a progress report. [Id. at 13-14].




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                        Discussion

                 The Court concludes that Henry has not established standing to challenge the

           sealing of the interception tapes. In order to have standing, a defendant must establish

           that he has a legitimate expectation of privacy that was violated by the government’s

           electronic surveillance. See United States v. Scasino, 513 F.2d 47, 50 (5th Cir. 1975);

           see also United States v. Bianco, 998 F.2d 1112, 1122 (2d Cir. 1993). However,

           allegations in a brief are insufficient to establish standing. United States v. One Parcel

           of Real Estate at 3850 S.W. 126th Court, Miami, 39 F. Supp. 2d 1370, 1371-72

           (S.D. Fla. 1997). As a result, the motion should be denied.

                 Even if Henry established standing, it is clear that the recordings were timely

           sealed. Title 18 U.S.C. § 2518(8)(a) requires that wiretap recordings be sealed

           “[i]mmediately upon the expiration of the period of the order.” Courts have held that

           recordings are sealed “immediately upon the expiration of the period of the order,”

           when they are sealed within two or three days of the expiration. United States v.

           Matthews, 431 F.3d 1296, 1307 (11th Cir. 2005) (holding that sealing “ ‘within one or

           two days’ is . . . reasonable,” and citing United States v. McGuire, 307 F.3d 1192, 1204

           (9th Cir. 2002) (1 to 2 days); United States v. Wilkinson, 53 F.3d 757, 759 (6th Cir. 1995)

           (“ ‘Immediately’ is understood as meaning ‘within one or two days.’ ”) (citation

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           omitted); United States v. Wong, 40 F.3d 1347, 1375-76 (2d Cir. 1994) (same));

           see also United States v. Carson, 969 F.2d 1480, 1498 (3d Cir. 1992) (3 days

           acceptable    where     intervening     weekend);     United     States   v.     Flores,

           No. 1:05-cr-558-WSD-JFK, 2007 WL 2904109 at *3 (N.D. Ga. Sept. 27, 2007)

           (“Courts in this circuit have found as many as three days between expiration of the

           order and sealing acceptable”) (citing United States v. Harvey, 560 F. Supp. 1040, 1057

           (S.D. Fla. 1983) (“delay of three (3) days after termination is reasonable”)).

                 Moreover, courts have held that when calculating the period between the

           expiration of the interceptions pursuant to a wiretap order and the sealing of the

           recordings, holidays and weekends are not counted. United States v. Maxwell,

           25 F.3d 1389, 1394 (8th Cir. 1994); Carson, 969 F.2d at 1498 (weekends not

           considered); Wong, 40 F.3d at 1375 (“weekends and holidays present legitimate

           obstacles to the sealing of tapes”); Flores, 2007 WL 2904109 at *3 (holding that “the

           Court should count only business days”); see also United States v. Calabrese,

           492 F. Supp. 2d 906, 911-12 (N.D. Ill. 2007) (intervening weekends provides legitimate

           reason for delay in sealing tapes).

                 In this case, the recordings which terminated on November 24, 2010, were timely

           sealed under the statute when Judge Forrester signed the sealing order on November 29,

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           2010. [See Doc. 713, Exhs. 2, 3]. In 2010, November 25 was Thanksgiving and

           November 27 and 28 fell on the weekend. Thus, the recordings were sealed within two

           business days of the termination of recording, and thus were timely under Eleventh

           Circuit law.

                 In addition, the December 1, 2010, authorized recordings were terminated on

           December 16, 2010, and sealed that day by Judge Story. [Id., Exh. 9].

                 As a result, Henry’s sealing challenges should be rejected.

                 In addition, the government’s in camera presentation demonstrates that progress

           reports were submitted when required under the interception authorizations. Thus, even

           if a failure to file timely progress reports gives rise to the remedy of suppression, but

           see United States v. Scafidi, 564 F.2d 633, 641 (2d Cir. 1977) (stating that “the sanction

           for failure to do so is surely not automatic suppression of the tapes”), the reports, where

           required, were submitted to the District Court, and thus this argument also should be

           rejected.

                 Geo-Location Return Deficiencies

                 Henry also contends that the government appears to have obtained geo-location

           warrants or orders on eight occasions for telephones believed to be used by Henry, but

           the discovery only shows two returns being filed in violation of the issuing order or

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           warrant and Fed. R. Crim. P. 41(f). [Doc. 601 at 6-8]. The government asserts that,

           again,     Henry    has   not   shown     standing   to   challenge   the   geo-location

           warrants/orders. [Doc. 713 at 15-18]. It also states that with the exception of one state

           warrant for which there was no timely return, it either filed returns or did not execute

           on the warrants/order. [Id. at 18-19]. It also contends that suppression is not a valid

           remedy for failing to file proper returns. [Id. at 19-20].

                    First, the Court agrees that Henry did not establish standing, particularly where

           the telephones he allegedly used were in the names of aliases. See United States v.

           Suarez-Blanca, Criminal Indictment No. 1:07-CR-0023-MHS/AJB, 2008 WL 4200156,

           at *6 (N.D. Ga. Apr. 21, 2008) (R&R) (citing cases). Second, even if the returns were

           not filed or filed timely, Fed. R. Crim. P. 41(f)(3)(A) requires officers “executing the

           warrant [to] . . . give a copy of the warrant and a receipt for the property taken to the

           person from whom, or from whose premises, the property was taken.” Violations of

           Rule 41(f) “are essentially ministerial in nature and a motion to suppress should be

           granted only when the defendant demonstrates legal prejudice or that non-compliance

           with the rule was intentional or in bad faith.” United States v. Marx, 635 F.2d 436, 441




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           (5th Cir. Unit B, Jan. 27, 1981).1 In Marx, the court held that failure to deliver a copy

           of the search warrant to the party whose premises were searched until the day after the

           search did not invalidate a search, in the absence of a showing of prejudice. The Marx

           Court went on to explain that in order to show prejudice in this context, a defendant

           must show that because of the violation of Rule 41, he was subjected to a search that

           might not have occurred or would not have been so abrasive had the rule been followed.

           Marx, id.

                 The burden of establishing that the warrants in this case was defective or

           executed improperly is upon the defendant. Franks v. Delaware, 438 U.S. 154, 171

           (1978); United States v. Van Horn, 789 F.2d 1492, 1500 (11th Cir. 1986); Marx,

           635 F.2d at 441; United States v. Vigo, 413 F.2d 691, 693 (5th Cir. 1969) (defendants

           have the burden of proof in challenging the validity of the execution or service of the

           search warrant).

                 Since Henry has not demonstrated that he was prejudiced by any failure relating

           to the return of the geo-locations authorizations, his motion should be denied.

                 For all the above and foregoing reasons, the undersigned RECOMMENDS that

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                        The Eleventh Circuit has adopted as precedent the decisions of the former
           Fifth Circuit rendered prior to October 1, 1981. Bonner v. City of Prichard,
           661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).

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           Henry’s motion to suppress, [Doc. 601], be DENIED.

                IT IS SO RECOMMENDED, this the 12th day of April, 2013.




                                              ALAN J. BAVERMAN
                                              UNITED STATES MAGISTRATE JUDGE




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